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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JLT SPECIALTY INSURANCE SERVICES INC.,

                                     Plaintiff,
                                                                           Case No.: 19-cv -3921
                    -against-
                                                                           COMPLAINT
NFP PROPERTY & CASUALTY SERVICES,
INC.,

                                     Defendant.

           Plaintiff JLT Specialty Insurance Services Inc. (“JLT”) as for its Complaint against

Defendant NFP Property and Casualty Services, Inc. (“NFP”) hereby alleges as follows:

                                            SUMMARY OF THE ACTION

           1.       JLT brings this action to protect its customers, goodwill, and confidential

information and prevent further injury to its business interests resulting from the unfair

competition and malicious conduct of NFP and the thirteen recent hires it wrongly lured away

from JLT.

           2.       Between Wednesday, March 20, 2019 and Friday, March 22, 2019, twelve

employees in JLT’s Real Estate and Property Practices resigned their employment, without prior

notice, immediately joined NFP, a competitor in the insurance industry, and began unfairly

competing with JLT.

           3.       On the following Tuesday, March 26, 2019, a thirteenth employee and a member

of JLT’s Real Estate Practice resigned his employment, without prior notice, immediately joined

NFP, and began unfairly competing with JLT. 1

           4.       Each of the thirteen Breaching Employees was employed by JLT in a position of

trust and confidence, and, accordingly, owed a fiduciary duty and a duty of loyalty to JLT.

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    These thirteen separated employees collectively are referred to in this Complaint as the “Breaching Employees.”
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       5.       Eleven of these thirteen Breaching Employees signed Non-Solicitation and

Confidentiality Agreements agreeing not to disclose JLT’s Confidential Information and/or

Trade Secrets, including information about JLT’s clients and client relationships.

       6.       Ten of those eleven employees also agreed that, for a period of twelve months

following their separation from employment with JLT, they would not solicit, divert, take away

or do business with JLT’s clients or prospective clients with whom they were involved during

the final twelve months of their employment with JLT.

       7.       Those ten employees also agreed that, for a period of twelve months following

their separation from employment, they would not to solicit, induce or recruit (either directly or

indirectly) any JLT employee with whom they worked during the final twelve months of their

employment with JLT.

       8.       An eleventh employee signed a Non-Solicitation and Confidentiality Agreement

agreeing that she would not solicit certain of JLT’s clients, prospective clients and employees for

a period of two years following her separation from employment.

       9.       Upon information and belief, some or all of the thirteen Breaching Employees,

breached their Non-Solicitation and Confidentiality Agreements, and their common law

fiduciary duties by soliciting JLT clients and employees with whom they worked while

employed by JLT, and by downloading, maintaining and divulging JLT’s confidential

information to representatives of NFP.

       10.      Non-solicitation and confidentiality agreements of the type the individuals signed

and breached are common in the insurance industry to protect insurers from unfair competition

by competitors.

       11.      Indeed, NFP employees also sign Non-Solicitation Agreements. See, generally,

NFP Property & Casualty Services, Inc. v. Lefkowitz, No. 13-cv-04686 (RMB)(JLC) (S.D.N.Y.)


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and NFP Property & Casualty Services, Inc. v. Tankersley, Index No. 650557/2014 (Sup. Ct.,

N.Y. Cnty.).

       12.     Thus, NFP knew, or should have known, of the existence of the eleven

employees’ Non-Solicitation and Confidentiality Agreements.

       13.     NFP also knew, or should have known, about individuals breaches of their Non-

Solicitation and Confidentiality Agreements and their common law fiduciary duties, which

benefited and unjustly enriched NFP.

       14.     NFP’s blatant and unabated disregard for each Breaching Employee’s contractual

obligations and fiduciary duties have caused and are continuing to cause malicious, unfair and

financial harm to JLT.

       15.     JLT seeks redress for NFP’s tortious interference, unfair competition and

misappropriation of confidential information.

                                           PARTIES

       16.     Plaintiff JLT is a Delaware corporation with its principal place of business located

at 225 West Wacker Drive, Chicago, IL 60606. JLT is a wholly-owned subsidiary of JLT

Holdings Inc., and an indirect subsidiary of Marsh & McLennan Companies Inc. It is a leading

provider of insurance, reinsurance, employee benefits advice and brokerage services.

       17.     Defendant NFP is a New York corporation with its principal place of business

located at 707 Westchester Avenue, White Plains, NY 10604. NFP is a subsidiary of National

Financial Partners Corp. Like, JLT, NFP provides insurance, reinsurance, employee benefits

advice and brokerage services.




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                                  JURISDICTION AND VENUE

          18.   This Court has original subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1332 because this is an action between citizens of different states, and the amount in

controversy exceeds $75,000 exclusive of interests and costs.

          19.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because NFP resides

in the district and is subject to the Court’s personal jurisdiction.

                                   FACTUAL ALLEGATIONS

JLT’s Real Estate Practice

          20.   JLT’s Real Estate Practice focuses on the insurance and risk management needs

of commercial, habitational, residential and industrial property owners, operators, managers,

investors and developers.

          21.   Beginning in or about August 2015, JLT employed Gary Pestana as an Executive

Vice President and Practice Leader of the Real Estate Practice, based in JLT’s Los Angeles, CA

office.

          22.   As Executive Vice President and Practice Leader, Pestana was responsible for,

among other tasks, generating new client business and maintaining and growing business with

existing clients.

          23.   Pestana relied on financial and internal resources from JLT to generate business,

service clients and manage client relationships. He developed client relationships by virtue of his

employment, and with the support of an experienced team of JLT employees, on whom he relied

to carry out his job duties.

          24.   On or about August 28, 2015, in connection with the commencement of his

employment with JLT, Pestana entered into a Non-Solicitation and Confidentiality Agreement.




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       25.     By signing the Non-Solicitation and Confidentiality Agreement, Pestana

acknowledged that: (i) he would be “granted access to [JLT’s] confidential and proprietary data,”

including client pricing, prospect lists, key client contacts and risk assessments; and (ii) the

confidential and proprietary data to which he had access is “a valuable property of [JLT].”

       26.     Further, by signing the Non-Solicitation and Confidentiality Agreement, Pestana

agreed that he would not, either during or after his employment, “divulge [JLT’s] Confidential

Information and/or Trade Secrets . . . or make use of it for his . . . own purposes or the purposes

of another, for so long as such Confidential Information has not fallen into the public domain.”

       27.     Pestana also agreed that, for a period of twelve months following the termination

of his employment, he would not directly or indirectly solicit, “divert, take away or do business

with [JLT’s] [c]lients or [p]rospective clients,” with whom he had “any direct or indirect

involvement” during the twelve months prior to his termination of employment, and would not

otherwise assist any person, firm or entity in soliciting, diverting, taking away or doing business

with those same clients and prospective clients.

       28.     Pestana also agreed that, for a period of twelve months following the termination

of his employment, he would “not knowingly solicit induce, recruit or make an offer of

employment to or assist in the recruitment of or the making of an offer of employment” to any

JLT employee who was employed at any time during the twelve months prior to his termination

of employment.

       29.     Finally, Pestana agreed that at end of his employment with JLT, he would

“promptly return . . . all literature, correspondence, memoranda, reports, summaries, manuals,

proposals, contracts, documents, computer disks and programs, computer hardware, and other

materials which comprise or refer to [JLT’s] Confidential Information and/or Trade Secrets.”




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        30.     Other members of JLT’s Real Estate Practice, including Dustin Smith, Senior

Vice President, Lesa Medeiros, Vice Present and Genevieve Lopez, Account Manager, signed

identical Non-Solicitation and Confidentiality Agreements in connection with their

commencement of employment with JLT.

        31.     Each of these employees reported to Pestana.

        32.     Among the many clients Pestana produced during his employment at JLT, with

the assistance of JLT’s staff and resources, was a residential and commercial property developer

engaged in a joint venture to redevelop twenty-two acres of prime real estate in downtown

Brooklyn, NY, including 6 million square feet of residential space, 247,000 square feet of retail

space, 336,000 square feet of office space and 8 acres of publicly accessible open space (“Client

A”).

        33.     Pestana and his team also developed, with the assistance of JLT’s staff and

resources, a client relationship with a large, publicly traded real estate investment trust that owns

more than 20 million square feet of shopping centers (“Client B”).

JLT’s Property & Casualty Practice

        34.     JLT’s Property Practice uses technical expertise, market-leading tools and

resources, global platform, and carrier relationships to design custom solutions for its clients.

        35.     Beginning in or about October 2015, JLT employed Sara Sherman as a Senior

Vice President in its Real Estate Practice, based out of San Francisco, CA.

        36.     In or about April 2017, JLT promoted Sherman to Executive Vice President and

Practice Leader of the Real Estate Practice.

        37.     As Executive Vice President and Practice Leader, Sherman was responsible for,

among other tasks, producing new client business and maintaining and growing business with

existing clients.


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          38.   Sherman relied on financial and internal resources from JLT to generate business,

service clients and manage client relationships. She developed client relationships by virtue of

her employment, and with the support of an experienced team of JLT employees, on whom she

relied to carry out her job duties.

          39.   On or about October 23, 2015, in connection with her commencement of

employment with JLT, Sherman entered into a Non-Solicitation and Confidentiality Agreement.

          40.   By signing the Non-Solicitation and Confidentiality Agreement, Sherman

acknowledged that: (i) she would be “granted access to [JLT’s] confidential and proprietary

data,” including client pricing, prospect lists, key client contacts and risk assessments; and

(ii) the confidential and proprietary data to which she had access is “a valuable property of

[JLT].”

          41.   Further, by signing the Non-Solicitation and Confidentiality Agreement, Sherman

agreed that she would not, either during or after her employment, “divulge [JLT’s] Confidential

Information and/or Trade Secrets . . . or make use of it for . . . her own purposes or the purposes

of another, for so long as such Confidential Information has not fallen into the public domain.”

          42.   Sherman also agreed that, for a period of twelve months following the termination

of her employment, she would not directly or indirectly solicit, “divert, take away or do business

with [JLT’s] [c]lients or [p]rospective clients,” with whom she had “any direct or indirect

involvement” during the twelve months prior to her termination of employment, and would not

otherwise assist any person, firm or entity in soliciting, diverting, taking away or doing business

with those same client and prospective clients.

          43.   Sherman also agreed that, for a period of twelve months following the termination

of her employment, she would “not knowingly solicit induce, recruit or make an offer of

employment to or assist in the recruitment of or the making of an offer of employment” to any


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JLT employee who was employed at any time during the twelve months prior to her termination

of employment.

       44.    Finally, Sherman agreed that at end of her employment with JLT, she would

“promptly return . . . all literature, correspondence, memoranda, reports, summaries, manuals,

proposals, contracts, documents, computer disks and programs, computer hardware, and other

materials which comprise or refer to [JLT’s] Confidential Information and/or Trade Secrets.”

       45.    Other members of JLT’s Property Practice, including Joshua Forbes, Senior Vice

President, Timothy Edwards, Senior Vice President, Margaret Martinez, Assistant Vice

President, Jason McCarrick, Assistant Vice President, Hermilia Martinez, Senior Account

Specialist and Stephanie Olloqui, Account Manager, signed identical Non-Solicitation and

Confidentiality Agreements in connection with their commencement of employment with JLT.

       46.    Each of these employees reported to Sherman.

       47.    Sherman and her team worked with Pestana and his team to develop and service

Client A and Client B.

NFP’s Corporate Raiding and Unauthorized Taking of JLT’s Confidential Information

       48.    On or about March 1, 2019, Pestana had lunch with one or more representatives

of NFP.

       49.    Upon information and belief, Pestana discussed the names of his clients and

colleagues with NFP.

       50.    Upon information and belief, following his lunch meeting with NFP, Pestana

spoke with one or more members of JLT’s Real Estate and Property Practices about moving to

NFP.

       51.    Upon information and belief, other members of JLT’s Real Estate and Property

Practices also spoke to their colleagues about moving to NFP.


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          52.        Sherman resigned her employment with JLT effective March 20, 2019, without

any advanced notice.

          53.        Seven other members of the Property Practice she supervised resigned within 48

hours of Sherman’s resignation, including five who resigned on the same day:

Name                    Listed Title                      Listed Practice Group Location            Effective Resignation Date
Edwards, Timothy        Senior Vice President, Property   Property & Casualty   San Francisco, CA            3/20/2019
Forbes, Joshua          Senior Vice President             Property & Casualty   New York, NY                 3/20/2019
Martinez, Hermilia      Senior Account Specialist         Property & Casualty   San Francisco, CA            3/20/2019
Martinez, Margaret      Assistant Vice President          Property & Casualty   New York, NY                 3/20/2019
McCarrick, Jason        Assistant Vice President          Property & Casualty   San Francisco, CA            3/20/2019
Olloqui, Stephanie      Account Manager                   Property & Casualty   Los Angeles, CA              3/21/2019
Nelson, Jessica         Account Manager                   Property & Casualty   New York, NY                 3/22/2019


          54.        Pestana resigned his employment with JLT effective March 21, 2019, without any

advanced notice.



          55.        Four other members of the Real Estate Practice Pestana led resigned within three

business days of Pestana’s resignation:

Name                    Listed Title                      Listed Practice Group Location            Effective Resignation Date
Lopez, Genevieve        Account Manager                   Real Estate           Los Angeles, CA              3/22/2019
Medeiros, Lesa          Vice President                    Real Estate           San Francisco, CA            3/22/2019
Smith, Dustin           Senior Vice President             Real Estate           Los Angeles, CA              3/22/2019
Morcos, Ramy            Vice President                    Real Estate           Los Angeles, CA              3/26/2019


          56.        All thirteen of the Breaching Employees who resigned between March 20, 2019

and March 26, 2019 from JLT’s Real Estate and Property Practices immediately went to work

for NFP.

          57.        Immediately prior to their resignations, and their return of JLT’s phones, laptops

and tablets, some or all of the Breaching Employees downloaded and/or uploaded JLT’s

confidential information to external drives and/or personal cloud storage accounts.

          58.        For example, between March 11, 2019 and March 21, 2019, Pestana connected at

least four USB drives and an iPhone to his JLT computer and accessed a Dropbox.com account

from that computer.



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       59.     On or about March 14 and 21, 2019, Pestana accessed JLT’s files related to Client

B, and numerous broker of records letters.

       60.     Between March 14, 2019 and March 20, 2019, Sherman connected her iPhone

and numerous USB devices and drives to her JLT computer. She also accessed and/or

downloaded documents entitled “January_February_2019_Premium_Rate_Report_Summary

SMS.pptx,” “January_February_2019_Premium_Rate_Report_Real Estate SMS.pptx,”

and “January_February_2019_Premium_Rate_Report_Property SMS.pptx,” and information

related to the coverage, losses, renewal presentations and policies of a large hospitality client.

       61.     On March 12, 2019, she accessed a document entitled “Forbes Offer JLT.pdf,”

which, upon information and belief, was the March 1, 2018 employment offer letter from JLT to

Josh Forbes. As alleged above, Forbes separated from his employment at JLT on the same day as

Sherman.

       62.     Between March 20, 2019 and his March 26, 2019 resignation, Ramy Morcos

connected at least 6 unique USB drives, an iPhone and an iPad to his JLT computer.

       63.     Morcos downloaded to his various USB drives client pricing, audit, loss, risk and

coverage information related to numerous JLT clients, including (i) a real estate investment,

company based in Los Angeles, California (“Client C”); (ii) a general contracting and

construction company in Chino, CA; (iii) a real estate investment and construction company

based in Indianapolis, IN; and (iv) a second a real estate investment, management company

based in Los Angeles, California.

       64.     Using his JLT computer, Morcos also accessed personal Dropbox and Google

Drive cloud storage accounts, where, upon information and belief, he uploaded JLT’s

confidential information to his personal accounts.




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         65.   Upon information and belief, these employees downloaded and/or uploaded JLT’s

confidential and propriety information to external drives and/or cloud storage accounts for use in

their new jobs with NFP.

         66.   Upon information and belief, NFP knew, or should have known, about these

downloads and uploads.

         67.   Also immediately prior to their resignations, and their return of JLT’s phones,

laptops and tablets, some or all of the Breaching Employees took steps to cover their electronic

tracks and hide their tortious and injurious conduct.

         68.   In the final two weeks of their employment, Pestana, Sherman and Morcos each

made frequent visits to the temporary file location on their JLT computers, and deleted their

Internet Explorer temporary files and browsing histories.

         69.   Pestana, Sherman and four other employees (Jessica Nelson, Stephani Ollogui,

Maggie Martinez and Jason McCarrick) also wiped the data from their JLT-issued iPhones and

iPads.

         70.   Additionally, Morcos and Dustin Smith failed to provide JLT with their

passcodes, which would allow JLT to access the data on their JLT-issued devices.

Improper Solicitations of Client A

         71.   Also immediately prior to their resignations, some or all of the Breaching

Employees met with JLT clients to solicit business in violation of their contractual obligations

and fiduciary duties.

         72.   On March 19, 2019, Vincent Zegers, a Senior Vice President in JLT’s Real Estate

Practice who assisted Pestana and Smith with Client A, emailed Pestana and Smith about Client

A. He wrote, in part, “Any update? It’s pretty quiet which worries me a bit…….”




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        73.     That day same day, just two days before his resignation and one day before

Pestana’s resignation, Smith responded “[m]eeting with them tomorrow. W[ill] fill you in after

the meeting.”

        74.     Smith never filled Zegers in, as he promised in his email.

        75.     The day after the meeting (March 21, 2019) Client A’s Senior Vice President and

General Counsel emailed Pestana, Smith, Jessica Nelson and Jason McCarrick confirming his

knowledge that the employees were leaving JLT and transitioning to NFP.

        76.     He wrote, in part: “Dear JLT Team: I have a hopefully quick request (and

apologies knowing that you are swamped with the transition).”

        77.     That same day, after Nelson responded to Client A’s inquiry, Client A’s Senior

Vice President and General Counsel joked “Thank you for the Q[I]CK turnaround . . . (They

don’t do that at Marsh!),” referring to JLT’s parent company.

        78.     Pestana resigned that day (March 21, 2019).

        79.     Smith and Nelson resigned from JLT on the following day (March 22, 2019).

        80.     On March 22, 2019, Client A’s Senior Vice President and General Counsel sent a

letter “confirm[ing] the appointment, on an exclusive basis, [of] NFP Property & Casualty

Services, Inc. (NFP) as broker of record effective March 22, 2019.” Client A carbon copied

Pestana on its letter.

Client B, Client C and Other Lost Business Resulting from the Breaching Employees’ Various
Breaches

        81.     Other clients also departed JLT on March 22, 2019 and the days that followed

because of the improper solicitations of the Breaching Employees.

        82.     On March 22, 2019, Pestana’s first day of employment at NFP, at 9:07 a.m.,

Pestana emailed the Managing Director of Client C a template broker of record letter.



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          83.   Pestana wrote to Client C’s Managing Director, “Just need on your letterhead,

signed and returned.”

          84.   Pestana carbon copied his email to Stephanie Olloqui, who resigned her

employment with JLT the previous day, at her new NFP email address.

          85.   Pestana also carbon copied his email to Ramy Morcos at ramy.morcos@nfp.com,

even though Morcos was employed by JLT until his resignation on March 26, 2019 (4 days

later).

          86.   By letter dated March 22, 2019, JLT received notification that Client C submitted

a broker of record letter to its insurance carrier appointing a new broker.

          87.   JLT received the letter regarding Client C less than two weeks after Morcos

accessed and downloaded files related to Client C’s pricing and coverage information.

          88.   Upon information and belief, Client C’s new broker is NFP.

          89.   Also by letter dated March 22, 2019, Client B’s Chief Executive Officer

“confirm[ed] the appointment, on an exclusive basis, [of] NFP Property & Casualty Services,

Inc. (NFP) as broker of record effective March 22, 2019.” Client B carbon copied Pestana on its

letter.

          90.   Other than the signatures block and the letterhead, the letter from Client B was

identical to the letter JLT received from Client A.

          91.   Upon information and belief, both letters were drafted by Pestana after he

solicited business from both Client A and Client B.

          92.   Also on or about March 22, 2019, received notification that a hospitality client in

Arizona, who previously was serviced by JLT through the Breaching Employees, submitted a

broker of record letter to its insurance carrier appointing a new broker.




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       93.     Upon information and belief, the Arizona-based hospitality client now works with

NFP as its exclusive broker of record.

       94.     By letter dated March 27, 2019, JLT received notification confirming that a San

Francisco based online direct home seller, who previously was serviced by Sherman, had

appointed NFP, “on an exclusive basis . . . as broker of record effective March 27, 2019.”

       95.     The March 27th letter from the San Francisco client was nearly identical to the

letters JLT received from Clients A and B.

       96.     Although Sherman provided some services to the San Francisco based online

home seller she did not originate or produce the relationship for JLT.

       97.     The relationship with the San Francisco based online home seller was generated

by Jennifer Schaeffer a Senior Vice President in JLT’s San Francisco Office who remains

employed by JLT.

       98.     On or about April 30, 2019, JLT received a letter notification from a

condominium client in Bronx, New York, “confirm[ing] the appointment, on an exclusive basis,

[of] NFP Property & Casualty Services, Inc. (NFP) as broker of record effective April 25, 2019.”

       99.     The letter which was carbon copied to Dustin Smith was nearly identical to the

letters JLT received from Client A, Client B and the San Francisco online home seller.

       100.    Upon information and belief, the departures of these clients were the result of

improper solicitations by one or more of the Breaching Employees, in violation of their Non-

Solicitation and Confidentiality Agreements.

       101.    Upon information and belief, the departures of these clients were the result of the

improper download, use and/or dissemination of JLT’s confidential information by one or more

of the Breaching Employees, in violation of their Non-Solicitation and Confidentiality

Agreements.


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       102.    NFP knew or should have known of the Breaching Employees’ post-employment

obligations to JLT at or near the time the Breaching Employees commenced their employment

with NFP.

       103.    NFP knew or should have known that one or more the Breaching Employees were

soliciting on NFP’s behalf in violation of their Non-Solicitation and Confidentiality Agreements.

       104.    NFP knew or should have known that one or more the Breaching Employees

downloaded, used and/or disseminated JLT’s confidential information on NFP’s behalf in

violation of their Non-Solicitation and Confidentiality Agreements.

       105.    Upon information and belief, NFP has assisted in or benefited from the Breaching

Employees’ breaches of their Non-Solicitation and Confidentiality Agreements.

JLT’s Efforts to Abate the Individual Defendants’ Breaches

       106.    Between March 25, 2019 and March 27, 2019, Aubrie Ekman, Associate General

Counsel for JLT, sent letters to each of the Breaching Employees reminding them of their

continuing obligations to JLT, including their obligations to refrain from soliciting certain

clients, prospective clients and employees, and their obligations to refrain from copying, using,

sharing or disclosing JLT’s confidential information.

       107.    The Ekman letters also requested that the Breaching Employees return JLT’s

“materials, documents, or information in any form, paper, electronic, or otherwise, or copies

thereof” to JLT and provided an address to which the Breaching Employees could send the

materials, documents, or information.

       108.     Not one of the Breaching Employees acknowledged receipt of the Ekman letter,

nor did any of the Breaching Employees return USB dives or other external media drives used to

store JLT information.




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        109.    On April 26, 2019, attorneys for NFP acknowledged that Pestana and Morcos

downloaded files from their JLT computers and/or JLT systems onto USB drives and returned

eleven files.

        110.    On behalf of Pestana, NFP’s attorney returned: (i) a MS PowerPoint presentation

prepared for a prospective client in October 2015, outlining capabilities and expertise in

construction; (ii) a list of sixteen prospective California based clients; (iii) a compilation of more

than 7,000 prospective and former clients, including information about policy renewal dates,

premium amounts, submission dates and expiration dates; and (iv) two 2015 invoices showing

the insurance premiums paid by a JLT client and the commission percentages paid to JLT.

        111.    On behalf of Morcos, NFP’s attorney returned: (i) a list of clients (including

Clients A, B and C), prospects and former clients assigned to various members of JLT’s Real

Estate and Property Practices, including Dustin Smith and Morcos; (ii) a template exposure

workbook used by members of JLT’s Real Estate and Property Practices to summarize client

entities and risks; (iii) a property proposal template used by members of JLT’s Real Estate and

Property Practices to summarize client insurance placements; (iv) a sample timeline for

insurance renewals; (v)      a completed template summary of insurance workbook used by

members of JLT’s Real Estate and Property Practices to track coverage; (vi) a completed

workers’ compensation net rate analysis used by members of JLT’s Real Estate and Property

Practices; and (vii) a template property and casualty submission to insurance carriers.

        112.    NFP did not return the USB drives Pestana and Morcos used to download these

documents.

        113.    NFP also did not return documents Morcos downloaded regarding Client C and

various other JLT clients (see Paragraph 63).




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        114.   NFP also did not return documents Pestana and/or Morcos uploaded to their

personal cloud storage accounts.

        115.   NFP did not return USB drives, external storage devices, materials, documents or

information from any other Breaching Employee.

                               FIRST CLAIM FOR RELIEF
        (Tortious Interference with Existing and Prospective Business Relationships)

        116.   JLT repeats and realleges each and every allegation contained in Paragraphs 1

through 115 of the Complaint as if fully set forth herein.

        117.   As a result of their employment with JLT, the Breaching Employees were

intimately familiar with, and had detailed knowledge concerning, the business relationships that

existed between JLT and certain clients.

        118.   Upon information and belief, NFP encouraged each Breaching Employee to

utilize JLT’s confidential information to solicit JLT’s clients, and was motivated by a desire to

obtain an unfair advantage in its competition with JLT, and to damage or injure JLT’s business,

goodwill, reputation, or standing in the marketplace.

        119.   Upon information and belief, NFP was aware that eleven of the thirteen

Breaching Employee were subject to certain post-employment obligations no later than the time

each Breaching Employee commenced employment with NFP.

        120.   Upon information and belief, NFP has directly or indirectly received JLT’s

confidential information, and encouraged, or participated in, its use in order to solicit JLT’s

clients unlawfully and interfere with JLT’s business advantages and prospective economic

relations.

        121.   JLT possesses a protectable interest in its contracts and relations with its clients,

in that it has a reasonable expectation of their continued association with JLT.



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       122.    NFP’s conduct was undertaken with malice, or in knowing disregard of or

indifference to, the rights and interests of JLT.

       123.    As a direct and proximate result of NFP’s interference, JLT suffered and will

continue to suffer extensive irreparable injury, loss of goodwill, harm to its business, and other

injury and damages.

       124.    As a direct and proximate result of NFP’s interference, JLT suffered and will

continue to suffer damages, which continue to accrue in the form of attorneys’ fees and costs

related to this litigation, and lost business in an amount to be proven at trial.

                                SECOND CLAIM FOR RELIEF
                              (Tortious Interference with Contract)

       125.    JLT repeats and realleges each and every allegation contained in Paragraphs 1

through 124 of the Complaint as if fully set forth herein.

       126.    As a result of their employment with JLT, the Breaching Employees were

intimately familiar with, and had detailed knowledge concerning, the business relationships that

existed between JLT and certain clients.

       127.    By recruiting the Breaching Employees and inducing them to breach their Non-

Solicitation and Confidentiality Agreements; by inducing, encouraging or helping the Breaching

Employees solicit JLT’s clients; together with the misappropriation, use and/or disclosure of

JLT’s confidential information, NFP tortiously interfered with JLT’s contractual relationship

with each Breaching Employee.

       128.    Upon information and belief, NFP will profit, has profited, and will continue to

profit from the tortious interference with contractual obligations owed by each Breaching

Employee to JLT.




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       129.    As a direct and proximate result of NFP’s interference, JLT has suffered and will

continue to suffer extensive irreparable injury, loss of goodwill, harm to its business, and other

injury and damages.

       130.    As a direct and proximate result of NFP’s interference, JLT has suffered and will

continue to suffer damages, which continue to accrue in the form of attorneys’ fees and costs

related to this litigation, and lost business in an amount to be proven at trial.

                                  THIRD CLAIM FOR RELIEF
                                     (Unfair Competition)

       131.    JLT repeats and realleges each and every allegation contained in Paragraphs 1

through 130 of the Complaint as if fully set forth herein.

       132.    Upon information and belief, NFP engaged in unfair methods of competition in

that it has unlawfully seized, appropriated and utilized unfair advantages in its competition with

JLT from each Breaching Employee’s breach of his or her Non-Solicitation and Confidentiality

Agreements; each Breaching Employee’s breach of his or her fiduciary duty and duty of loyalty,

and NFP’s interference with JLT’s business, advantages and prospective economic relations and

contracts, all of which are more fully set forth above.

       133.    The aforementioned conduct has resulted in the pirating of JLT’s confidential

information.

       134.    Upon information and belief, NFP was and is driven by unlawful predatory

motives and malice, or acted in knowing or reckless disregard of the rights and interests

possessed by JLT in its attempts to obtain an unfair advantage over JLT and to damage or injure

JLT in the industries within which NFP competes with JLT.

       135.    Upon information and belief, each Breaching Employee acted and is acting on

behalf of NFP, as set forth above, and in connection with such conduct the NFP was, and is,



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driven by unlawful predatory motives and malice toward JLT; or acted in reckless disregard for

the rights and interests of JLT, in its respective attempts to obtain an unfair competitive

advantage over JLT and to damage or injure JLT in the industries within which NFP competes

with JLT.

       136.    As a direct and proximate result of NFP’s conduct, JLT has been damaged in that,

by way of illustration and without limitation: (1) the name, reputation and goodwill of JLT has

been damaged; (2) a direct competitor has secured JLT’s confidential information; (3) JLT has

lost business, in an amount unable to be ascertained at this time; and (4) the damages suffered by

JLT is expected to continue and multiply by reason of ongoing breaches by the Breaching

Employees on behalf of NFP.

       137.    As a direct and proximate result of NFP’s conduct, JLT has suffered and will

continue to suffer extensive irreparable injury, loss of goodwill, harm to their business, and other

injury and damages.

       138.    As a direct and proximate result of NFL’s unlawful competition, JLT has suffered

and will continue to suffer damages, which continue to accrue in the form of attorneys’ fees and

costs related to this litigation, and lost business in an amount to be proven at trial.

                              FOURTH CLAIM FOR RELIEF
                        (Misappropriation of Confidential Information)

       139.    JLT repeats and realleges each and every allegation contained in Paragraphs 1

through 138 of the Complaint as if fully set forth herein.

       140.    As senior employees of JLT, each Breaching Employee learned or had access to

JLT’s confidential information.

       141.    Upon information and belief, each Breaching Employee has used or disclosed, or

threatens to use or disclose, JLT’s confidential information.



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       142.    Upon information and belief, NFP induced, procured and/or assisted each

Breaching Employee in the misuse, misappropriation and disclosure of JLT’s confidential

information.

       143.    Upon information and belief, NFP, and the Breaching Employees on behalf of

NFP, are presently misappropriating JLT’s confidential information, and using such information

to the detriment of JLT.

       144.    As a direct and proximate result of NFP’s conduct, JLT has suffered and will

continue to suffer extensive irreparable injury, loss of goodwill, harm to its business, and other

injury and damages.

       145.    As a direct and proximate result of NFP’s conduct, JLT has suffered and will

continue to suffer damages, which continue to accrue in the form of attorneys’ fees and costs

related to this litigation, and lost business in an amount to be proven at trial.

       WHEREFORE, JLT respectfully requests that judgment be made and entered against

NRL and in favor of JLT, as follows:

       (a) Enjoining and restraining NFP, and any person or entity acting in concert with NFP or

its supervision, through March 22, 2020, and as extended during any period that the Breaching

Employees have breached their obligations to JLT, from, soliciting or servicing, or inducing not

to place business with JLT, any clients of JLT with whom any Breaching Employee had contact,

or about whom any Breaching Employee obtained confidential information, or for whom any

Breaching Employee was responsible for making (or assisting or supervising the making of)

sales to, or performing or providing (or assisting or supervising the performance or provision of)

services or products on behalf of, JLT, during the last twelve months of his or her employment;

        (c) Enjoining and restraining NFP, and any person or entity acting in concert with NFP

or its supervision, through March 22, 2020, and as extended during any period that the Breaching


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Employees have breached their obligations to JLT, from soliciting or endeavoring to cause JLT

employees with whom any Breaching Employee came into contact for business purposes or

about whom any Breaching Employee obtained Confidential Information to leave employment

with JLT;

            (d) Enjoining and restraining NFP, and any person or entity acting in concert with NFP or

under its supervision, from possessing, using, disclosing or disseminating JLT’s confidential

information;

            (e) Enjoining and restraining NFP, and any person or entity acting in concert with NFP or

under its supervision, from any other actions in violation of any Breaching Employee’s

contractual obligations or fiduciary duties owed to JLT;

            (h) Awarding compensatory damages and interest to JLT in an amount to be determined

at trial;

            (i) Awarding exemplary and punitive damages; and

            (j) Granting JLT its costs and disbursements incurred in connection with this litigation,

including attorneys’ fees, together with such other further relief as the Court may deem just and

proper.

Dated: May 1, 2019
       New York, New York                        /s/ Shawn Matthew Clark
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                                                 Shawn Matthew Clark
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